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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

             Plaintiffs,
        v.                                             Civil Action No. 25-0946 (CKK)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

             Defendants.


 DEMOCRATIC NATIONAL COMMITTEE,
 et al.,

             Plaintiffs,
        v.                                             Civil Action No. 25-0952 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.


 LEAGUE OF WOMEN VOTERS
 EDUCATION FUND, et al.,

             Plaintiffs,
        v.                                             Civil Action No. 25-0955 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.

                                             ORDER
                                           (May 6, 2025)

       The Court is in receipt of the parties’ [119] Joint Scheduling Proposal. In this filing,

Plaintiffs report that Defendants have represented that they do not intend to file motions to dismiss

or to appeal the Court’s [103] Order preliminarily enjoining certain Defendants from implementing

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or giving effect to Sections 2(a) and 2(d) of Executive Order 14,248. Defendants do not dispute

Plaintiffs’ statement of their position. Accordingly, the Court shall set a schedule for further

proceedings that assumes no motions to dismiss or interlocutory appeals will be filed at this stage.

       Defendants request that their deadline to file Answers be deferred until the Court resolves

motions for summary judgment. That request is denied. As required by the Federal Rules of Civil

Procedure, Defendants shall file Answers or otherwise respond to Plaintiffs’ three Complaints

within 60 days of service on the United States Attorney. See Fed. R. Civ. P. 12(a)(2). Specifically,

Defendants shall file an Answer or otherwise respond on or before May 31, 2025 to the Complaint

in Case No. 25-cv-0946; on or before June 1, 2025 to the Complaint in Case No. 25-cv-0952; and

on or before June 7, 2025 to the Complaint in Case No. 25-cv-0955. See ECF Nos. 11, 87, 116.

       The parties also dispute whether discovery is necessary in this case. To allow the Court to

decide whether discovery is warranted, the parties shall MEET AND CONFER and file a Local

Rule 16.3 report on or before June 13, 2025. See LCvR 16.3. In addition to the topics listed in

Local Rule 16.3, the parties’ report shall identify the subject matter of any proposed discovery, the

claim(s) and provision(s) of Executive Order 14,248 to which the proposed discovery would be

relevant, and a discovery plan outlining how Plaintiffs propose to obtain the relevant information.

       Finally, counsel for all parties shall appear for an initial scheduling conference at 9:00 a.m.

ET on June 18, 2025, in Courtroom 28-A. Counsel attending the conference must hold the

authority to make stipulations and admissions about discovery, scheduling, and any other topic

that may reasonably be expected to arise at the conference.


       SO ORDERED.

       Dated: May 6, 2025
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge

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